                    Case 20-30141            Doc 1       Filed 02/06/20 Entered 02/06/20 13:12:06                            Desc Main
                                                           Document     Page 1 of 40

Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                     Chapter       7
                                                                                                                        o Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                JTR1, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FDBA JTR, LLC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  814 Tyvola Rd, Suite 107
                                  Charlotte, NC 28217
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Mecklenburg                                                   Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor               n Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  o Partnership (excluding LLP)
                                  o Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
                    Case 20-30141               Doc 1        Filed 02/06/20 Entered 02/06/20 13:12:06                                   Desc Main
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Debtor    JTR1, LLC                                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                       o Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       o Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       o Railroad (as defined in 11 U.S.C. § 101(44))
                                       o Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       o Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       o Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       n None of the above
                                       B. Check all that apply
                                       o Tax-exempt entity (as described in 26 U.S.C. §501)
                                       o Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       o Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5242

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                    n Chapter 7
                                       o Chapter 9
                                       o Chapter 11. Check all that apply:
                                                        o Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                            o    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                            o    A plan is being filed with this petition.
                                                            o    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                            o    The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                            o    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       o Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                       n No.
     the debtor within the last 8      o Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases           o No
    pending or being filed by a
    business partner or an             n Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See Attachment                                                  Relationship
                                                 District                                 When                              Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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                                                          Document     Page 3 of 40
Debtor   JTR1, LLC                                                                               Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                n      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                o      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                n No
                                           Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal   o Yes.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                           o It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                           o It needs to be physically secured or protected from the weather.
                                           o It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                           o Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                           o No
                                           o Yes.     Insurance agency
                                                      Contact name
                                                      Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                        o Funds will be available for distribution to unsecured creditors.
                                        n After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of
    creditors
                                n 1-49                                          o 1,000-5,000                              o 25,001-50,000
                                o 50-99                                         o 5001-10,000                              o 50,001-100,000
                                o 100-199                                       o 10,001-25,000                            o More than100,000
                                o 200-999

15. Estimated Assets            n $0 - $50,000                                  o $1,000,001 - $10 million                 o $500,000,001 - $1 billion
                                o $50,001 - $100,000                            o $10,000,001 - $50 million                o $1,000,000,001 - $10 billion
                                o $100,001 - $500,000                           o $50,000,001 - $100 million               o $10,000,000,001 - $50 billion
                                o $500,001 - $1 million                         o $100,000,001 - $500 million              o More than $50 billion

16. Estimated liabilities       o $0 - $50,000                                  o $1,000,001 - $10 million                 o $500,000,001 - $1 billion
                                o $50,001 - $100,000                            o $10,000,001 - $50 million                o $1,000,000,001 - $10 billion
                                o $100,001 - $500,000                           o $50,000,001 - $100 million               o $10,000,000,001 - $50 billion
                                n $500,001 - $1 million                         o $100,000,001 - $500 million              o More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    JTR1, LLC                                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 6, 2020
                                                  MM / DD / YYYY


                             X /s/ Jeffrey Covelli                                                        Jeffrey Covelli
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X /s/ Joseph W. Grier, III                                                    Date February 6, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Joseph W. Grier, III 7764
                                 Printed name

                                 Grier Wright Martinez, PA
                                 Firm name

                                 521 E. Morehead St., Suite 440
                                 Charlotte, NC 28202
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     704 332-0201                  Email address      jgrier@grierlaw.com

                                 7764 NC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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Debtor     JTR1, LLC                                                                        Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                   Chapter      7
                                                                                                                     o Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                     Pending Bankruptcy Cases Attachment



Debtor     C2 Advisors, LLC                                                        Relationship to you               Affiliate
District   Western District of North Carolina         When                         Case number, if known
Debtor     Richard J. Covelli                                                      Relationship to you               Affiliate
District   Western District of North Carolina         When                         Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 5
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 Fill in this information to identify the case:

 Debtor name         JTR1, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                o Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

        n         Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

        n         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

        n         Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

        n         Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

        n         Schedule H: Codebtors (Official Form 206H)

        n         Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        o         Amended Schedule
        o         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
        o         Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          February 6, 2020                        X /s/ Jeffrey Covelli
                                                                       Signature of individual signing on behalf of debtor

                                                                       Jeffrey Covelli
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                   Case 20-30141                            Doc 1               Filed 02/06/20 Entered 02/06/20 13:12:06                                                           Desc Main
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 Fill in this information to identify the case:

 Debtor name            JTR1, LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                                                                   o Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $            11,248.83

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $            11,248.83


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $          508,480.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$            17,543.68


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $             526,023.68




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                                           Best Case Bankruptcy
                   Case 20-30141                  Doc 1          Filed 02/06/20 Entered 02/06/20 13:12:06                        Desc Main
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 Fill in this information to identify the case:

 Debtor name          JTR1, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                 o Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      o No. Go to Part 2.
      n Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Wells Fargo                                            Business Checking                5588                                        $185.83



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                       $185.83
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      o No. Go to Part 3.
      n Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     Virtual Tone                                                                                                                        $275.00



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Legal retainer with Scheper Kim & Harris, LLP                                                                                 $10,000.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
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 Debtor         JTR1, LLC                                                                     Case number (If known)
                Name



 9.         Total of Part 2.                                                                                                          $10,275.00
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

      n No. Go to Part 4.
      o Yes Fill in the information below.

 Part 4:        Investments
13. Does the debtor own any investments?

      o No. Go to Part 5.
      n Yes Fill in the information below.
                                                                                                      Valuation method used     Current value of
                                                                                                      for current value         debtor's interest

 14.        Mutual funds or publicly traded stocks not included in Part 1
            Name of fund or stock:

 15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
            partnership, or joint venture
            Name of entity:                                               % of ownership


            15.1.    Investment in Bentley Boys, LLC                                              %                                           $788.00



 16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
            Describe:


 17.        Total of Part 4.                                                                                                              $788.00
            Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      n No. Go to Part 6.
      o Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      n No. Go to Part 7.
      o Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      o No. Go to Part 8.
      n Yes Fill in the information below.
            General description                                               Net book value of       Valuation method used     Current value of
                                                                              debtor's interest       for current value         debtor's interest
                                                                              (Where available)

 39.        Office furniture

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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 Debtor         JTR1, LLC                                                                     Case number (If known)
                Name



 40.        Office fixtures

 41.        Office equipment, including all computer equipment and
            communication systems equipment and software
            Software - website design for Pension
            Advisory group; paid $3,500 on 7/10/18                                          $0.00                                          $0.00



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                              $0.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
            n No
            o Yes
 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
            n No
            o Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    n No. Go to Part 9.
    o Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

    n No. Go to Part 10.
    o Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    n No. Go to Part 11.
    o Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    o No. Go to Part 12.
    n Yes Fill in the information below.
                                                                                                                         Current value of
                                                                                                                         debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy
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 Debtor         JTR1, LLC                                                                    Case number (If known)
                Name

           Flexible Premium Adjustable Life Insurance Policy With
           Index-Linked Interest Options on the life of Richard J.
           Covelli with Zurich American Life Ins. Co.; policy
           number 217093, face amount $7,000,000; net cash
           surrender value is 0. Upon information and belief, BJS
           Insurance has an interest in the death benefits of this
           policy. However, the Debtor has not been able to locate
           its documentation on this interest.                                                                                    Unknown



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Claim for indemnification against the Retirement Plan of
           Freedom Communications, Inc.                                                                                           Unknown
           Nature of claim
           Amount requested                                              $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                         $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
           n No
           o Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 4
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 Debtor          JTR1, LLC                                                                                           Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $185.83

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $10,275.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                  $788.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $11,248.83          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $11,248.83




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
                  Case 20-30141                    Doc 1         Filed 02/06/20 Entered 02/06/20 13:12:06                              Desc Main
                                                                  Document     Page 13 of 40
 Fill in this information to identify the case:

 Debtor name          JTR1, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                       o Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       o No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       n Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    BJS Insurance                                 Describe debtor's property that is subject to a lien                $508,480.00                 Unknown
        Creditor's Name                               Flexible Premium Adjustable Life Insurance
                                                      Policy With Index-Linked Interest Options on
                                                      the life of Richard J. Covelli with Zurich
                                                      American Life Ins. Co.; policy number 217093,
                                                      face amount $7,000,000; net cash surrender
        20005 Burdock Rd                              value is 0.
        Baltimore, MD 21209
        Creditor's mailing address                    Describe the lien
                                                      Interest in Death Benefit. See Note on
                                                      Schedule A #73
                                                      Is the creditor an insider or related party?
                                                      n No
        Creditor's email address, if known            o Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                        n No
        12/31/2017                                    o Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
        n No                                          o Contingent
        o Yes. Specify each creditor,                 o Unliquidated
        including this creditor and its relative      o Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.         $508,480.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                 Case 20-30141                    Doc 1          Filed 02/06/20 Entered 02/06/20 13:12:06                                          Desc Main
                                                                  Document     Page 14 of 40
 Fill in this information to identify the case:

 Debtor name         JTR1, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                                   o Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          n No. Go to Part 2.
          o Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    Unknown
           Cross Credit Capital, LLC                                         n Contingent
           Attn Baruch Halpern
           9601 Collins Avenue, Suite PH303
                                                                             n Unliquidated
           Miami Beach, FL 33154                                             n Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?   n No o Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    Unknown
           Lewis & Ellis, Inc.
           Attn: Scott Gibson                                                n Contingent
           700 Central Expressway South                                      n Unliquidated
           Suite 550                                                         n Disputed
           Allen, TX 75013-8098
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?   n No o Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    Unknown
           Pension Benefit Guaranty Corp                                     n Contingent
           1200 K Street, N.W.
           Washington, DC 20005-4026
                                                                             n Unliquidated
           Date(s) debt was incurred
                                                                             n Disputed
           Last 4 digits of account number                                   Basis for the claim: See civil proceeding 8:19-cv-00299-DOC-DFM; US
                                                                             District Court, Central Division of California, Southern Division
                                                                             Is the claim subject to offset?   n No o Yes
 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    Unknown
           Richard Kearns                                                    n Contingent
           6521 Selton House Lane
           Charlotte, NC 28277
                                                                             n Unliquidated
           Date(s) debt was incurred
                                                                             n Disputed
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?   n No o Yes

Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                         page 1 of 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                         50727                                               Best Case Bankruptcy
                 Case 20-30141                    Doc 1          Filed 02/06/20 Entered 02/06/20 13:12:06                                          Desc Main
                                                                  Document     Page 15 of 40
 Debtor       JTR1, LLC                                                                               Case number (if known)
              Name

 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,088.54
           RJC Financial, Inc.                                               o Contingent
           814 Tyvola Rd                                                     o Unliquidated
           Charlotte, NC 28217                                               o Disputed
           Date(s) debt was incurred 12/31/2018
                                                                             Basis for the claim: Unreimbursed expenses
           Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.6       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $15,455.14
           Smiley Wang-Ekvall                                                o Contingent
           3200 Park Center Drive, Suite 250                                 o Unliquidated
           Costa Mesa, CA 92626                                              o Disputed
           Date(s) debt was incurred 6/4/2019 to 8/1/2019
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.7       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Smith Barid, LLC                                                  n Contingent
           Attn Mike Smith
           7393 Hodgson Memorial Dr., STE 202
                                                                             n Unliquidated
           Savannah, GA 31406                                                n Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?   n No o Yes
 3.8       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Unsecured Creditors Cmte, Freedom Comm                            n Contingent
           Jack Butler, Chair
           Pension Benefit Guaranty Corporation
                                                                             n Unliquidated
           1200 K Street, NW                                                 n Disputed
           Washington, DC 20005-4026                                         Basis for the claim: See adversary proceeding 8:17-ap-01012-MW; US
           Date(s) debt was incurred                                         Bankruptcy Court, Central Division of California, Santa Ana Division
           Last 4 digits of account number                                   Is the claim subject to offset?   n No o Yes
 3.9       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Willen, Limsky, & Associates. P.A.
           Attn: Mark Willen                                                 n Contingent
           1829 Reistertown Road                                             n Unliquidated
           Suite 410                                                         n Disputed
           Pikesville, MD 21208
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?   n No o Yes
 3.10      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Willen, Limsky, & Associates. P.A.
           Attn: Amy Stempfer                                                n Contingent
           1829 Reistertown Road                                             n Unliquidated
           Suite 410                                                         n Disputed
           Pikesville, MD 21208
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?   n No o Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
                 Case 20-30141                    Doc 1          Filed 02/06/20 Entered 02/06/20 13:12:06                                  Desc Main
                                                                  Document     Page 16 of 40
 Debtor       JTR1, LLC                                                                           Case number (if known)
              Name

          Name and mailing address                                                               On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.1      Alan J. Kornfeld
          Pachulski Stang Ziehl & Jones LLP                                                      Line   3.8
          10100 Santa Monica Blvd 13th Fl
          Los Angeles, CA 90067                                                                  o      Not listed. Explain


 4.2      Alan J. Kornfeld
          Pachulski Stang Ziehl & Jones LLP                                                      Line   3.3
          10100 Santa Monica Blvd., 13th Floor
          Los Angeles, CA 90067                                                                  o      Not listed. Explain


 4.3      Alexander H. Cote
          Scheper Kim & Harris, LLP                                                              Line   3.3
          800 West Sixth Street, 18th Floor
          Los Angeles, CA 90017-2701                                                             o      Not listed. Explain


 4.4      Brandon J Witkow
          21031 Ventura Blvd, Ste 603                                                            Line   3.8
          Woodland Hills, CA 91364
                                                                                                 o      Not listed. Explain

 4.5      Brandon J Witkow
          21031 Ventura Blvd, Ste 603                                                            Line   3.3
          Woodland Hills, CA 91364
                                                                                                 o      Not listed. Explain

 4.6      Carolyn J Lachman
          Pension Guaranty Benefit Corporation                                                   Line   3.3
          1200 K Street NW, Suite 320
          Washington, DC 20005                                                                   o      Not listed. Explain


 4.7      Charles E Canter
          AUSA - US Attorneys Office                                                             Line   3.3
          300 N Los Angeles St, Suite 7516
          Los Angeles, CA 90012                                                                  o      Not listed. Explain


 4.8      Christopher B Queally
          Callahan & Blaine APLC                                                                 Line   3.8
          3 Hutton Centre Dr 9th Fl
          Santa Ana, CA 92707                                                                    o      Not listed. Explain


 4.9      Cory A Baskin
          Witkow Baskin                                                                          Line   3.3
          21031 Ventura Boulevard, Suite 603
          Woodland Hills, CA 91364                                                               o      Not listed. Explain


 4.10     Edward Susolik
          Callahan & Blaline, APLC                                                               Line   3.3
          3 Hutton Centre Drive 9th Floor
          Santa Ana, CA 92707                                                                    o      Not listed. Explain


 4.11     Elissa A. Wagner
          Pachulski Stang Ziehl & Jones LLP                                                      Line   3.8
          10100 Santa Monica Blvd 13th Fl
          Los Angeles, CA 90067                                                                  o      Not listed. Explain


 4.12     Elizabeth B Fry
          Pension Benefit Guaranty Corporation                                                   Line   3.3
          1200 K Street, N.W., Suite 320
          Washington, DC 20005                                                                   o      Not listed. Explain




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 3 of 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
                 Case 20-30141                    Doc 1          Filed 02/06/20 Entered 02/06/20 13:12:06                                  Desc Main
                                                                  Document     Page 17 of 40
 Debtor       JTR1, LLC                                                                           Case number (if known)
              Name

          Name and mailing address                                                               On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.13     Erin Cranman Witkow
          Witkow Baskin                                                                          Line   3.3
          21031 Ventura Boulevard, Suite 603
          Woodland Hills, CA 91364                                                               o      Not listed. Explain


 4.14     Erinn M. Contreras
          Sheppard Mullin Richter & Hampton                                                      Line   3.8
          4 Embarcadero Center 17th Floor
          San Francisco, CA 94111                                                                o      Not listed. Explain


 4.15     Erinn M. Contreras
          Sheppard Mullin Richter & Hampton                                                      Line   3.3
          4 Embarcadero Center 17th Floor
          San Francisco, CA 94111                                                                o      Not listed. Explain


 4.16     James M Sabovich
          Callahan & Blaine                                                                      Line   3.8
          3 Hutton Centre Dr Ste 900
          Santa Ana, CA 92707                                                                    o      Not listed. Explain


 4.17     Joel W. Ruderman
          Pension Benefit Guaranty Corporation                                                   Line   3.3
          1200 K Street, N.W.
          Washington, DC 20005-4026                                                              o      Not listed. Explain


 4.18     Jordon E Jacobson
          Pension Benefit Guaranty Corporation                                                   Line   3.3
          1200 K Street, N.W., Suite 340
          Washington, DC 20005-4026                                                              o      Not listed. Explain


 4.19     Kamran Salour
          Callahan & Blaine                                                                      Line   3.3
          3 Hutton Centre Drive 9th Floor
          Santa Ana, CA 92707                                                                    o      Not listed. Explain


 4.20     Margaret E. Dayton
          Scheper Kim & Harris, LLP                                                              Line   3.3
          800 West Sixth Street, 18th Floor
          Los Angeles, CA 90017-2701                                                             o      Not listed. Explain


 4.21     Mark R. Snyder
          Pension Benefit Guaranty Corporation                                                   Line   3.3
          1200 K Street, N.W.
          Washington, DC 20005-4026                                                              o      Not listed. Explain


 4.22     Matthew T Furton
          Locke Lord LLP                                                                         Line   3.8
          111 S Wacker Dr
          Chicago, IL 60606                                                                      o      Not listed. Explain


 4.23     Raphael Cung
          Callahan & Blaine APLC                                                                 Line   3.8
          3 Hutton Centre Dr 9th Fl
          Santa Ana, CA 92707                                                                    o      Not listed. Explain


 4.24     Raphael Cung
          Callahan & Blaine APLC                                                                 Line   3.3
          3 Hutton Centre Dr 9th Fl
          Santa Ana, CA 92707                                                                    o      Not listed. Explain




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 4 of 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
                 Case 20-30141                    Doc 1          Filed 02/06/20 Entered 02/06/20 13:12:06                                  Desc Main
                                                                  Document     Page 18 of 40
 Debtor       JTR1, LLC                                                                           Case number (if known)
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                 related creditor (if any) listed?               account number, if
                                                                                                                                                 any
 4.25      Robert J. Feinstein
           Pachulski Stang Ziehl & Jones, LLP                                                    Line      3.8
           10100 Santa Monica Blvd., 13th Floor
           Los Angeles, CA 90067                                                                 o      Not listed. Explain


 4.26      Robert James Guite
           Sheppard Mullin Richter Hampton LLP                                                   Line      3.3
           Four Embarcadero Center, 17th Floor
           San Francisco, CA 94111                                                               o      Not listed. Explain


 4.27      Robert S Marticello
           Smiley Wang-Ekvall, LLP                                                               Line      3.8
           3200 Park Center Dr, Suite 250
           Costa Mesa, CA 92626                                                                  o      Not listed. Explain


 4.28      Steven B Sacks
           Four Embarcadero Center 17th Floor                                                    Line      3.8
           San Francisco, CA 94111
                                                                                                 o      Not listed. Explain

 4.29      United States Trustee (SA)
           411 W Fourth St., Suite 7160                                                          Line      3.8
           Santa Ana, CA 92701-4593
                                                                                                 o      Not listed. Explain

 4.30      William H. Forman
           Scheper Kim & Harris, LLP                                                             Line      3.3
           800 West Sixth Street, 18th Floor
           Los Angeles, CA 90017-2701                                                            o      Not listed. Explain



 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.         $                          0.00
 5b. Total claims from Part 2                                                                        5b.    +    $                     17,543.68

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.         $                         17,543.68




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 5 of 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                 Case 20-30141                    Doc 1          Filed 02/06/20 Entered 02/06/20 13:12:06                     Desc Main
                                                                  Document     Page 19 of 40
 Fill in this information to identify the case:

 Debtor name         JTR1, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                              o Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
       n No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
      o Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
                 Case 20-30141                    Doc 1          Filed 02/06/20 Entered 02/06/20 13:12:06                  Desc Main
                                                                  Document     Page 20 of 40
 Fill in this information to identify the case:

 Debtor name         JTR1, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                          o Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

 o No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 n Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Aaron Kushner                     396 Washington Street, #307                      Unsecured Creditors             oD
                                               Wellesley Hills, MA 02481                        Cmte, Freedom                   n E/F        3.8
                                               Co-Defendant                                     Comm
                                                                                                                                oG



    2.2      Aaron Kushner                     396 Washington Street, #307                      Pension Benefit                 oD
                                               Wellesley Hills, MA 02481                        Guaranty Corp                   n E/F        3.3
                                               Co-defendant
                                                                                                                                oG



    2.3      C&C Marketing,                    814 Tyvola Rd, Suite 107                         Unsecured Creditors             oD
             LLC                               Charlotte, NC 28217                              Cmte, Freedom                   n E/F        3.8
                                               Co-defendant                                     Comm
                                                                                                                                oG



    2.4      C&C Marketing,                    814 Tyvola Rd, Suite 107                         Pension Benefit                 oD
             LLC                               Charlotte, NC 28217                              Guaranty Corp                   n E/F        3.3
                                               Co-defendant
                                                                                                                                oG



    2.5      C2 Advisors, LLC                  814 Tyvola Rd, Suite 107                         Unsecured Creditors             oD
                                               Charlotte, NC 28217                              Cmte, Freedom                   n E/F        3.8
                                               Co-defendant                                     Comm
                                                                                                                                oG




Official Form 206H                                                         Schedule H: Your Codebtors                                        Page 1 of 2
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                 Case 20-30141                    Doc 1          Filed 02/06/20 Entered 02/06/20 13:12:06            Desc Main
                                                                  Document     Page 21 of 40
 Debtor       JTR1, LLC                                                                   Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      C2 Advisors, LLC                  814 Tyvola Rd, Suite 107                        Pension Benefit         oD
                                               Charlotte, NC 28217                             Guaranty Corp           n E/F       3.3
                                               Co-defendant
                                                                                                                       oG



    2.7      Eric Spitz                        225 19th St.                                    Unsecured Creditors     oD
                                               Newport Beach, CA 92663                         Cmte, Freedom           n E/F       3.8
                                               Co-defendant                                    Comm
                                                                                                                       oG



    2.8      Eric Spitz                        225 19th St                                     Pension Benefit         oD
                                               Newport Beach, CA 92663                         Guaranty Corp           n E/F       3.3
                                               Co-defendant
                                                                                                                       oG



    2.9      Etaros Acturial                   5008 W. 129th St.                               Unsecured Creditors     oD
             Services, LLC                     Leawood, KS 66209                               Cmte, Freedom           n E/F       3.8
                                               Co-defendant                                    Comm
                                                                                                                       oG



    2.10     Etaros Acturial                   5008 W. 129th St.                               Pension Benefit         oD
             Services, LLC                     Leawood, KS 66209                               Guaranty Corp           n E/F       3.3
                                               Co-defendant
                                                                                                                       oG



    2.11     Financial                         1755 Lynnfield Rd, #106                         Unsecured Creditors     oD
             Institution                       Memphis, TN 38119                               Cmte, Freedom           n E/F       3.8
             Consulting Corp                   Co-defendant                                    Comm
                                                                                                                       oG



    2.12     Traci M.                          5008 W. 129th Street                            Unsecured Creditors     oD
             Christian                         Leawood, KS 66209                               Cmte, Freedom           n E/F       3.8
                                               Co-defendant                                    Comm
                                                                                                                       oG



    2.13     Traci M.                          5008 W. 129th Street                            Pension Benefit         oD
             Christian                         Leawood, KS 66209                               Guaranty Corp           n E/F       3.3
                                               Co-defendant
                                                                                                                       oG




Official Form 206H                                                         Schedule H: Your Codebtors                              Page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                 Case 20-30141                    Doc 1          Filed 02/06/20 Entered 02/06/20 13:12:06                          Desc Main
                                                                  Document     Page 22 of 40



 Fill in this information to identify the case:

 Debtor name         JTR1, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                   o Check if this is an
                                                                                                                                       amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

      o None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                      Gross revenue
       which may be a calendar year                                                            Check all that apply                    (before deductions and
                                                                                                                                       exclusions)

       From the beginning of the fiscal year to filing date:                                   n Operating a business                                      $0.00
       From 1/01/2020 to Filing Date
                                                                                               o Other


       For prior year:                                                                         n Operating a business                            $378,890.59
       From 1/01/2019 to 12/31/2019
                                                                                               o Other Commission


       For year before that:                                                                   n Operating a business                            $502,199.08
       From 1/01/2018 to 12/31/2018
                                                                                               o Other Commission

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      o None.
                                                                                               Description of sources of revenue       Gross revenue from
                                                                                                                                       each source
                                                                                                                                       (before deductions and
                                                                                                                                       exclusions)

       From the beginning of the fiscal year to filing date:
       From 1/01/2020 to Filing Date                                                           Interest                                                    $0.00


       For prior year:
       From 1/01/2019 to 12/31/2019                                                            interest income                                             $0.85


       For year before that:
       From 1/01/2018 to 12/31/2018                                                            interest income                                          $22.31


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                 Case 20-30141                    Doc 1          Filed 02/06/20 Entered 02/06/20 13:12:06                                  Desc Main
                                                                  Document     Page 23 of 40
 Debtor       JTR1, LLC                                                                                 Case number (if known)




3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      o None.
       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Locke Lord, LLP                                             11/18/19                         $75,000.00           o Secured debt
               24259 Network Place                                                                                               o Unsecured loan repayments
               Chicago, IL 60673-1242                                                                                            o Suppliers or vendors
                                                                                                                                 n Services
                                                                                                                                 o Other

       3.2.
               Scheper Kim & Harris, LLP                                   11/18/19                         $25,000.00           o Secured debt
               601 West Fifth St, 12th Floor                                                                                     o Unsecured loan repayments
               Los Angeles, CA 90071-2025                                                                                        o Suppliers or vendors
                                                                                                                                 n Services
                                                                                                                                 o Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      o None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Locke Lord, LLP                                             7/23/2019                       $150,000.00           Legal fees

               Attorney

       4.2.    Locke Lord, LLP                                             4/8/2019                        $350,000.00           Legal fees

               Attorney

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      n None
       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      n None
       Creditor's name and address                               Description of the action creditor took                       Date action was               Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments


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 Debtor       JTR1, LLC                                                                                 Case number (if known)



7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      o None.
               Case title                                        Nature of case            Court or agency's name and            Status of case
               Case number                                                                 address
       7.1.    Official Committee of                             Suit by Unsecured         US Bankruptcy Court                   n Pending
               Unsecured Creditors of                            Creditors                 Central District of California        o On appeal
               Freedom Communications,                           Committee                 Ronald Reagan Fed'l Bldg
                                                                                                                                 o Concluded
               Inc, et al. v. Aaron Kushner, et                  alleging aiding &         & US Courthouse
               al                                                abetting breach of        Santa Ana, CA 92701
               8:17-ap-01012-MW                                  fiduciary duty,
                                                                 avoidance of
                                                                 fraudulent
                                                                 transers under
                                                                 Sections
                                                                 548(a)(1)(B) and
                                                                 544(b) and
                                                                 California Civil
                                                                 Code Sections
                                                                 3439.04, 05 & 07.

       7.2.    Pension Benefit Guaranty                          Suit by PBGC              US District Court                     n Pending
               Corp. v. Eric Spitz, et al.                       alleging as to            Central District of California        o On appeal
               8:19-cv-00299-DOC-DFM                             debtor knowing            Ronald Reagan Fed'l Bldg
                                                                                                                                 o Concluded
                                                                 participation in          & US Courthouse
                                                                 breach of                 Santa Ana, CA 92701-4516
                                                                 fiduciary duties in
                                                                 violation of ERISA
                                                                 and liabilityof
                                                                 nonfiduciaries for
                                                                 prohibited
                                                                 transactions.


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      n None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      n None
               Recipient's name and address                      Description of the gifts or contributions               Dates given                         Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      n None




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 Debtor        JTR1, LLC                                                                                    Case number (if known)



       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss        Value of property
       how the loss occurred                                                                                                                                  lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      o None.
                Who was paid or who received                         If not money, describe any property transferred           Dates              Total amount or
                the transfer?                                                                                                                              value
                Address
       11.1.    Grier Wright Martinez, PA
                521 E. Morehead St., Suite                           See disclosures in case of Richard Covelli,
                440                                                  who made bankruptcy-related payments
                Charlotte, NC 28202                                  to firm for himself, JTR1, and C2 Advisors.                                              $0.00

                Email or website address
                jgrier@grierlaw.com

                Who made the payment, if not debtor?
                Richard J. Covelli



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      n None.
       Name of trust or device                                       Describe any property transferred                   Dates transfers          Total amount or
                                                                                                                         were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      o None.
               Who received transfer?                            Description of property transferred or                     Date transfer         Total amount or
               Address                                           payments received or debts paid in exchange                was made                       value
       13.1                                                      See attached list for transfers over
       .                                                         $10,000 within 2 years pre filing. Debtor
                                                                 continues to investigate which of those
               Various                                           transfers, if any, were outside the
                                                                 ordinary course of business.                                                                 $0.00

               Relationship to debtor




 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


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 Debtor        JTR1, LLC                                                                                Case number (if known)




      n Does not apply
                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

      n     No. Go to Part 9.
      o     Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services          If debtor provides meals
                                                                 the debtor provides                                                   and housing, number of
                                                                                                                                       patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

      o     No.
      n     Yes. State the nature of the information collected and retained.

                  PHI and SSN in insurance policy applications ad in the insurance
                  policies.
                  Does the debtor have a privacy policy about that information?
                  o No
                  n Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

      n     No. Go to Part 10.
      o     Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      o None
                 Financial Institution name and                  Last 4 digits of         Type of account or          Date account was              Last balance
                 Address                                         account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred
       18.1.     Wells Fargo Money Market                        XXXX-1139                o Checking                  6/13/19                          $5,262.93
                                                                                          o Savings
                                                                                          n Money Market
                                                                                          o Brokerage
                                                                                          o Other

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.

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 Debtor      JTR1, LLC                                                                                  Case number (if known)




      n None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      n None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

    n None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

      n     No.
      o     Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

      n     No.
      o     Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

      n     No.
      o     Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

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25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      o None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Bentley Boys, LLC                                Insurance & life settlements                     EIN:         XX-XXXXXXX
             814 Tyvola Rd, Suite 107
             Charlotte, NC 28217                                                                               From-To      6/29/2015


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         o None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Elizabeth C. Chanter                                                                                                       Preceding two years
                    PO Box 691257
                    Charlotte, NC 28227

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

            o None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Mueller Prost                                                                                                              Preceding two years
                    7733 Forsyth Blvd.
                    Suite 1200
                    Saint Louis, MO 63105

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

            n None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

            n None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

      n     No
      o     Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory         The dollar amount and basis (cost, market,
                inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.




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 Debtor      JTR1, LLC                                                                                  Case number (if known)



       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jeffrey Covelli                                814 Tyvola Rd, Suite 107                            Manager
                                                      Charlotte, NC 28217

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Tom Covelli                                    814 Tyvola Rd, Suite 107                            Manager
                                                      Charlotte, NC 28217

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Richard Covelli                                814 Tyvola Rd, Suite 107                            Manager
                                                      Charlotte, NC 28217

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       JMC Financial Holdings,                        814 Tyvola Rd, Suite 107                            Member                                33.33% P&L
       LLC                                            Charlotte, NC 28217                                                                       allocation;
                                                                                                                                                10% capital
                                                                                                                                                account
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       TMC Financial, LLC                             814 Tyvola Rd, Suite 107                            Member                                33.33% P&L
                                                      Charlotte, NC 28217                                                                       allocation;
                                                                                                                                                10% capital
                                                                                                                                                account
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       RJC Financial, Inc                             814 Tyvola Rd, Suite 107                            Member                                33.33% P&L
                                                      Charlotte, NC 28217                                                                       allocation;
                                                                                                                                                80% capital
                                                                                                                                                account


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


      n     No
      o     Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

      n     No
      o     Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

      n     No
      o     Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation




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 Debtor      JTR1, LLC                                                                                  Case number (if known)



32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

      n     No
      o     Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         February 6, 2020

 /s/ Jeffrey Covelli                                                    Jeffrey Covelli
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
o No
n Yes




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11/18/2019    ($75,000) Locke and Lord
11/18/2019    ($25,000) Scheper Kim and Harris
 7/23/2019   ($150,000) Locke and Lord
  6/3/2019    ($23,882) Check 1633
  5/1/2019    ($10,000) Check 1620
  4/8/2019   ($350,000) Locke and Lord
 3/21/2019    ($20,000) Check 1615
 3/14/2019    ($10,000) Check 1614
 2/28/2019    ($15,925) Phlls LLC
 2/11/2019    ($25,000) Check 1607
 1/10/2019    ($15,000) Check

12/28/2018    ($25,000) JMC 5852
12/28/2018    ($25,000) TMC
12/28/2018    ($63,000) Locke Lord LLP
12/28/2018    ($25,000) RJC Financial
12/12/2018 ($20,589.22) RJC Financial
11/26/2018    ($25,000) Check 1572
11/13/2018    ($33,300) RJC Financial
11/13/2018    ($33,300) JMC 5852
11/13/2018    ($33,300) TMC
 9/21/2018    ($10,000) JMC 5852
 9/21/2018    ($10,000) TMC 5849
 8/27/2018 ($25,348.50) RJC Financial
 6/26/2018    ($65,000) JTR 1139
 6/22/2018    ($25,250) JMC 5852
 6/22/2018    ($25,250) TMC
  6/6/2018   ($125,000) ACM Properties
 5/31/2018    ($12,000) TMC 5849
 5/31/2018    ($12,000) JMC 5852
  4/4/2018    ($75,000) JTR 1139
  4/3/2018    ($50,500) JMC 5852
  4/3/2018    ($50,500) TMC Financial
 3/23/2018   ($200,000) ACM Properties
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                 Western District of North Carolina
 In re       JTR1, LLC                                                                                        Case No.
                                                                                       Debtor(s)              Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

         o FLAT FEE
             For legal services, I have agreed to accept                                                  $
             Prior to the filing of this statement I have received                                        $
             Balance Due                                                                                  $

         n    RETAINER
             For legal services, I have agreed to accept and received a retainer of                       $                       0.00
             The undersigned shall bill against the retainer at an hourly rate of                         $                     550.00
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.     $     335.00       of the filing fee has been paid.

3.     The source of the compensation paid to me was:

             o Debtor              n      Other (specify):           Richard Covelli

4.     The source of compensation to be paid to me is:

             o Debtor              n      Other (specify):           Richard Covelli

5.       n I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
         o I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:




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 In re       JTR1, LLC                                                                               Case No.
                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     February 6, 2020                                                           /s/ Joseph W. Grier, III
     Date                                                                       Joseph W. Grier, III 7764
                                                                                Signature of Attorney
                                                                                Grier Wright Martinez, PA
                                                                                521 E. Morehead St., Suite 440
                                                                                Charlotte, NC 28202
                                                                                704 332-0201 Fax: 704 332-0215
                                                                                jgrier@grierlaw.com
                                                                                Name of law firm




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                                                               United States Bankruptcy Court
                                                                 Western District of North Carolina
 In re      JTR1, LLC                                                                                 Case No.
                                                                                  Debtor(s)           Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       February 6, 2020                                          /s/ Jeffrey Covelli
                                                                       Jeffrey Covelli/Manager
                                                                       Signer/Title




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                      Aaron Kushner
                      396 Washington Street, #307
                      Wellesley Hills, MA 02481


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                                                               United States Bankruptcy Court
                                                                 Western District of North Carolina
 In re      JTR1, LLC                                                                                    Case No.
                                                                                  Debtor(s)              Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for JTR1, LLC in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



n None [Check if applicable]




 February 6, 2020                                                    /s/ Joseph W. Grier, III
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